Case 21-30589-MBK           Doc 1476 Filed 02/14/22 Entered 02/14/22 10:40:26                        Desc Main
                                    Document    Page 1 of 13

                                 UNITED STATES BANKRUPTCY COURT
                                      District of New Jersey Trenton

   In re:                                                                    Case No.: 21-30589
    LTL Management LLC,                                                       Chapter: 11
          Debtor(s).




                                       CERTIFICATE OF SERVICE

          I, Tinamarie Feil, state as follows:

          I am over the age of 18 and not a party to the above-captioned case. I certify that on February 11,
 2022, as directed by GENOVA BURNS LLC , true and correct copy(s) of the following document(s)
 were served on the party(s) listed on the attached exhibit(s) via the mode(s) of service thereon indicated:


 Dkt #1469-PLR January 2022 monthly fee statement
 Dkt #1470-Brown Rudnick January 2022 monthly fee statement


 I certify under penalty of perjury under the laws of the United States that the foregoing is true and correct.
 February 11, 2022



                                                            Tinamarie Feil
                                                            BMC Group, Inc.
                                                            Approved Bankruptcy Notice Provider
                                                            info@bmcgroup.com; 888.909.0100




 Page 1 of 13
Case 21-30589-MBK        Doc 1476 Filed 02/14/22 Entered 02/14/22 10:40:26                  Desc Main
                                 Document    Page 2 of 13



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 Page 2 of 13
Case 21-30589-MBK         Doc 1476 Filed 02/14/22 Entered 02/14/22 10:40:26                     Desc Main
                                  Document    Page 3 of 13



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 Page 3 of 13
Case 21-30589-MBK         Doc 1476 Filed 02/14/22 Entered 02/14/22 10:40:26                   Desc Main
                                  Document    Page 4 of 13



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 Page 4 of 13
Case 21-30589-MBK          Doc 1476 Filed 02/14/22 Entered 02/14/22 10:40:26                     Desc Main
                                   Document    Page 5 of 13



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 Page 5 of 13
Case 21-30589-MBK        Doc 1476 Filed 02/14/22 Entered 02/14/22 10:40:26                 Desc Main
                                 Document    Page 6 of 13



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 Page 6 of 13
Case 21-30589-MBK         Doc 1476 Filed 02/14/22 Entered 02/14/22 10:40:26                  Desc Main
                                  Document    Page 7 of 13




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 Page 7 of 13
Case 21-30589-MBK         Doc 1476 Filed 02/14/22 Entered 02/14/22 10:40:26                 Desc Main
                                  Document    Page 8 of 13



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 Page 8 of 13
Case 21-30589-MBK          Doc 1476 Filed 02/14/22 Entered 02/14/22 10:40:26               Desc Main
                                   Document    Page 9 of 13



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 Page 9 of 13
Case 21-30589-MBK       Doc 1476 Filed 02/14/22 Entered 02/14/22 10:40:26                  Desc Main
                               Document    Page 10 of 13



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 Page 10 of 13
Case 21-30589-MBK         Doc 1476 Filed 02/14/22 Entered 02/14/22 10:40:26                     Desc Main
                                 Document    Page 11 of 13



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 Page 11 of 13
Case 21-30589-MBK        Doc 1476 Filed 02/14/22 Entered 02/14/22 10:40:26                 Desc Main
                                Document    Page 12 of 13



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 Page 12 of 13
Case 21-30589-MBK         Doc 1476 Filed 02/14/22 Entered 02/14/22 10:40:26     Desc Main
                                 Document    Page 13 of 13



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 Updated thru 2‐10‐2022




 Page 13 of 13
